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                                                            E-FILED
                              Thursday, 23 January, 2014 11:15:14 AM
                                        Clerk, U.S. District Court, ILCD
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                                              ORDER

       Pursuant to the Stipulation of the parties, the above-entitled cause is hereby dismissed

with prejudice, all costs having been paid.


       DATE: ________________________

                                                   _____________________________
                                                               JUDGE
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